                 EXHIBIT 2
           March 29, 2024 Email re Muster Rolls




Case 7:23-cv-00897-RJ Document 199-2 Filed 05/08/24 Page 1 of 2
                                                      U.S. Department of Justice
                                                      Civil Division, Torts Branch
                                                      Environmental Torts

Joseph B. Turner
Email: joseph.b.turner@usdoj.gov



VIA EMAIL AND FEDEX                                           March 29, 2024

Lead Counsel for Plaintiffs
& Co-Lead Counsel for Plaintiffs

         Re: Camp Lejeune Water Litigation – United States’ Production of Documents

Counsel:

         As previously stated, the United States is producing the entirety of the United States Marine
Corps’ (“USMC”) Network Attached Storage (“NAS”) device. This production of USMC NAS
files is being designated as confidential and produced under the strongest protections possible
under the Protective Order.

        In the interest of disclosure, the United States has not redacted any information within this
production, of which non-party Personal Identifiable Information (“PII”) is included. The United
States expects that Plaintiffs will not permit the release of any of these materials to non-parties,
and that those individuals to whom Plaintiffs provide this information will understand the
confidential nature of these documents and sign the Protective Order before viewing any of the
produced materials. The United States will seek immediate Court intervention should any
inappropriate release of USMC NAS materials occur.

        This production is being mailed via encrypted hard drive. The PIN for the encrypted hard
drive is included in the email sent with this cover letter. Please let us know if you have any
questions or would like to discuss further.

                                                              Best Regards,
                                                              /s/ Joseph B. Turner
                                                              Joseph B. Turner
                                                              Trial Attorney
                                                              U.S. Department of Justice
                                                              Civil Division, Torts Branch

Enclosures: As Stated

cc: Counsel of Record in Camp Lejeune Water Litigation




           Case 7:23-cv-00897-RJ Document 199-2 Filed 05/08/24 Page 2 of 2
